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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 CORE WIRELESS LICENSING
 S.A.R.L.,
                                                   Case No. 2:14-cv-911-JRG-RSP
       Plaintiff,                                  (lead case)

       v.                                          Case No. 2:14-cv-912- JRG-RSP
                                                   (consolidated)
 LG ELECTRONICS, INC., and LG
 ELECTRONICS MOBILECOMM U.S.A., Jury Trial Demanded
 INC.

       Defendants.

                            JOINT MOTION FOR ENTRY OF
                         DISPUTED DOCKET CONTROL ORDER

       In accordance with the Court’s December 19, 2014 Order, Plaintiff Core Wireless

Licensing S.à.r.l. (Core Wireless) and Defendants LG Electronics, Inc. and LG Electronics

MobileComm U.S.A., Inc. (collectively, LG), hereby move the Court to resolve and enter a

proposed Docket Control Order. The parties have met and conferred several times, but have

reached an impasse with regard to the trial date for these cases, which affects the timing of all of

the intermediate dates. Core Wireless proposes a schedule keeping the trial and Markman

hearing dates provided by the Court. LG proposes that the Court consolidate these cases and/or

align the corresponding schedules with the two earlier cases filed by Core Wireless against

Apple, namely Civil Action Nos. 6:14-cv-00751 and 5:14-cv-00752, both pending before this

Court as requested in LG’s Motion to Consolidate and Amend Docket Control Order (Dkt. No.

35).   Alternatively, should the Court not grant consolidation or alignment, LG proposes a

schedule that extends each of the Court’s proposed dates by approximately 90 days.
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       Accordingly, there is virtually no overlap between the dates in the schedules each party has

       proposed. The chart below sets forth each of the parties’ proposals.

  Court’s Sample          Core Wireless’s          LG’s Proposal                       Event
      DCO                    Proposal

                       Monday,                                          *Jury Selection – 9:00 a.m. in
March 14, 2016         March 14, 2016           June 20, 2016           Marshall, Texas before
                                                                         Judge Rodney Gilstrap

                       Friday,                  May 20, 2016       *Pretrial Conference – 9:00 a.m. in
February 5, 2016       February 5, 2016         – 9:00 a.m. before Marshall, Texas before
                                                Judge John Love    Judge Roy Payne

                                                                        *Notify Court of Agreements
                                                                        Reached During Meet and Confer

                       Wednesday,                                       The parties are ordered to meet and
                       January 27, 2016         May 10, 2016            confer    on     any      outstanding
January 27, 2016
                                                                        objections or motions in limine.
                                                                        The parties shall advise the Court
                                                                        of any agreements reached no later
                                                                        than 1:00 p.m. three (3) business
                                                                        days before the pretrial conference.

                       Tuesday,                                         *File Joint Pretrial Order, Joint
                       January 26, 2016 1       May 6, 2016             Proposed Jury Instructions, Joint
January 25, 2016
                                                                        Proposed Verdict Form, and
                                                                        Responses to Motions in Limine




              1
                Core Wireless proposes moving this date from a Monday to a Tuesday for good cause in
       view of the volume and number of documents typically involved with such filings to lessen the
       burden on the staff of parties’ counsel to prepare such voluminous filings over the weekend for a
       Monday filing.



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                                                          *File Notice of Request for Daily
                                                          Transcript or Real Time Reporting.

                    Monday,                               If a daily transcript or real time
                    January 18, 2016    April 29, 2016    reporting of court proceedings is
January 18, 2016                                          requested for trial, the party or
                                                          parties making said request shall
                                                          file a notice with the Court and e-
                                                          mail the Court Reporter, Shelly
                                                          Holmes,                          at
                                                          shelly_holmes@txed.uscourts.gov.

                                                          File Motions in Limine

                    Tuesday,                              The parties shall limit their motions
                    January 19, 2016    April 22, 2016    in limine to issues that if
January 11, 2016                                          improperly introduced at trial
                                                          would be so prejudicial that the
                                                          Court could not alleviate the
                                                          prejudice by giving appropriate
                                                          instructions to the jury.

                    Thursday,                             Serve Objections       to   Rebuttal
January 11, 2016
                    January 14, 2016    April 22, 2016    Pretrial Disclosures

                    Thursday,                             Serve Objections to Pretrial
January 4, 2016     January 7, 2016     April 15, 2016    Disclosures; and Serve Rebuttal
                                                          Pretrial Disclosures

                    Tuesday,                              Serve Pretrial Disclosures (Witness
                    December 22, 2015   April 1, 2016     List, Deposition Designations, and
December 21, 2015
                                                          Exhibit List) by the Party with the
                                                          Burden of Proof

                    Friday,                               Deadline to      Complete     Expert
November 23, 2015
                    December 11, 2015   March 4, 2016     Discovery

                                                          *File Dispositive Motions or
                                                          Motions   to     Strike Expert
                                                          Testimony (including Daubert
                    Monday,                               Motions)
November 23, 2015   November 23, 2015   March 4, 2016
                                                          No dispositive motion or motion to
                                                          strike expert testimony (including a
                                                          Daubert motion) may be filed after
                                                          this date without leave of the Court.

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                     Thursday,                                    Serve Disclosures for Rebuttal
November 2, 2015
                     November 12, 2015        February 12, 2016   Expert Witnesses

                     Thursday,                                    Serve Disclosures for Expert
October 12, 2015     October 15, 2015         January 22, 2016    Witnesses by the Party with the
                                                                  Burden of Proof

                     Friday,                                      Deadline to Complete Fact
October 12, 2015     October 2, 2015          January 22, 2016    Discovery and File Motions to
                                                                  Compel Discovery

                     Monday,                                      *Deadline to File Letter Briefs
September 28, 2015
                     September 28, 2015       January 8, 2016     Regarding Dispositive Motions

                     Not later than 50
                     days after service by                        Comply with P.R. 3-6(a)(2)
                     the Court of its Claim                       (Amended Invalidity Contentions)
                     Construction Ruling

                     Not later than 30
                                                                  Comply with        P.R. 3-6(a)(1)
                     days after service by
                                                                  (Amended              Infringement
                     the Court of its Claim
                                                                  Contentions)
                     Construction Ruling

                                                                  Deadline to Complete Mediation
                     Monday,
                     September 15, 2015       December 28, 2015   The parties are responsible for
September 15, 2015                                                ensuring that a mediation report is
                                                                  filed no later than 5 days after the
                                                                  conclusion of mediation. See L.R.
                                                                  App. H.

                     Tuesday,                                     Comply with P.R. 3-7 (Opinion of
September 8, 2015
                     September 8, 2015        December 21, 2015   Counsel Defenses)

                     Tuesday,                 December 1, 2015 at *Claim Construction Hearing –
August 18, 2015      August 18, 2015          9:00 am before Judge 9:00 a.m. in Marshall, Texas
                                              John Love            before Judge Roy Payne

                     Tuesday,                                     *Comply with P.R. 4-5(d) (Joint
August 4, 2015
                     August 4, 2015           November 17, 2015   Claim Construction Chart)

                     Tuesday,                                     *Comply with P.R. 4-5(c) (Reply
July 28, 2015
                     July 28, 2015            November 10, 2015   Claim Construction Brief)




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                   Tuesday,                                 Comply     with  P.R.   4-5(b)
July 21, 2015      July 21, 2015       November 3, 2015     (Responsive Claim Construction
                                                            Brief)

                   Tuesday,                                 Comply with P.R. 4-5(a) (Opening
July 7, 2015       July 7, 2015        October 27, 2015     Claim Construction Brief) and
                                                            Submit Technical Tutorials (if any)

                                                            Deadline to Substantially Complete
                                                            Document       Production     and
                   Tuesday,                                 Exchange Privilege Logs
                   July 7, 2015        October 27, 2015
July 7, 2015                                                Counsel are expected to make good
                                                            faith efforts to produce all required
                                                            documents as soon as they are
                                                            available and not wait until the
                                                            substantial completion deadline.

                   Tuesday,                                 Comply with P.R. 4-4 (Deadline to
June 23, 2015      June 23, 2015       October 13, 2015     Complete Claim Construction
                                                            Discovery)

                   Tuesday,                                 File Response        to    Amended
June 16, 2015
                   June 16, 2015       October 6, 2015      Pleadings

                                                            *File Amended Pleadings
                   Tuesday,
                   June 2, 2015        September 22, 2015   It is not necessary to seek leave of
June 2, 2015
                                                            Court to amend pleadings prior to
                                                            this deadline unless the amendment
                                                            seeks to assert additional patents.

                   Tuesday,                                 Comply with P.R. 4-3 (Joint Claim
May 26, 2015
                   May 26, 2015        September 15, 2015   Construction Statement)

                   Tuesday,                                 Comply with P.R. 4-2 (Exchange
May 5, 2015
                   May 5, 2015         August 25, 2015      Preliminary Claim Constructions)

                   Tuesday,                                 Comply with P.R. 4-1 (Exchange
April 14, 2015
                   April 14, 2015      August 2, 2015       Proposed Claim Terms)

                   Friday,                                  Comply     with    P.R.    3-4(a)
                   March 13, 2015                           (Defendants’ production of source
                                                            code)

                   Friday,                                  Comply with P.R. 3-3 & 3-4
March 3, 2015
                   March 13, 2015      July 2, 2015         (Invalidity Contentions)

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                       Friday,                                          Join Additional Parties
January 27, 2015
                       February 27, 2015

                                                                        *File Proposed Protective Order
                                                                        and Comply with Paragraphs 1 & 3
                                                                        of the Discovery Order (Initial and
                       Tuesday,                                         Additional Disclosures)
                       February 10, 2015        February 10, 2015
February 10, 2015
                                                                        The Proposed Protective Order
                                                                        shall be filed as a separate motion
                                                                        with the caption indicating whether
                                                                        or not the proposed order is
                                                                        opposed in any part.

                                                                        *File Proposed Docket Control
                                                                        Order and Proposed Discovery
                                                                        Order
                       Tuesday,
                       February 3, 2015         February 3, 2015        The Proposed Docket Control
February 3, 2015
                                                                        Order and Proposed Discovery
                                                                        Order shall be filed as separate
                                                                        motions with the caption indicating
                                                                        whether or not the proposed order
                                                                        is opposed in any part.


              Attached as Exhibit A is a Proposed Docket Control Order reflecting Core Wireless’s

       proposal and attached as Exhibit B is a Proposed Docket Control Order reflecting LG’s

       alternative proposal, should the Court not grant LG’s co-pending Motion to Consolidate (Dkt.

       No. 35). A brief explanation of Core Wireless’ position is set forth below. As the Court

       indicated was permitted during the January 20, 2015 Case Management Conference, LG has

       stated its position and showing of good cause in its concurrently filed Motion to Consolidate and

       Amend Docket Control Order. (Dkt. No. 35).

                                           Core Wireless’s Position

              Core Wireless is satisfied with the schedule proposed by the Court and proposes only

       minor modifications to dates that may be altered without showing good cause. Core Wireless’s

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proposal accepts the trial date and Markman hearing date proposed by the Court and modifies

only one date that requires showing good cause by proposing moving it back a single day as

noted above and in Exhibit A.

       Core Wireless understands that LG desires to consolidate this case in some manner with

two suits filed by Core Wireless against Apple that are pending in the Tyler Division of this

District, and LG filed a motion to that effect just hours before this filing. Core Wireless opposes

LG’s consolidation request and LG’s proposed schedule in this case. While Core Wireless will

respond as soon as feasible to LG’s Motion to Consolidate to further explain the reasons for its

opposition, they are briefly described here. First, the LG and Apple cases, which are in separate

Divisions, are not consolidated. Further, neither LG nor Apple have made a motion to transfer

the cases all to Marshall or all to Tyler. A party’s opposed motion for consolidation of separate

cases pending in different Divisions is not good cause to fundamentally alter each of the dates

provided by the Court.

       Second, LG proposes its schedule in this case purportedly for the purpose of aligning the

schedules between this case and the Apple cases in Tyler. However, LG’s proposed schedule

does not simply align the schedules of this case and the Apple cases in Tyler, but also introduces

several months of unnecessary delay into all of the cases. For example, the date of the Markman

hearing proposed by LG (December 1, 2015), is several months later than the dates set by this

Court and the Court in Tyler for each of these cases (August 18, 2015 for this case and August

27 and September 3, 2015 for the Apple cases, Nos. 6:14-cv-751 and 6:14-cv-752, respectively,




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pending in Tyler). 2 LG appears to be using its motion to consolidate the cases as a means of

obtaining substantial delay in coming to a judicial resolution of this dispute.

       Core Wireless believes that the Court’s schedule, with the minor modifications requested

by Core Wireless, is the appropriate schedule for this case. Should the Court in Tyler and in

Marshall, enter any future order consolidating the cases in any manner, Core Wireless will meet

and confer with the relevant parties to come to a mutually agreeable schedule consistent with

whatever timeline may be set out in any consolidation order.            Until then, Core Wireless

respectfully requests the Court to enter its proposed Docket Control Order attached as Exhibit A.

If the allegedly insurmountable discovery burdens that LG sets forth in its Motion to Consolidate

come to pass, the affected party may file a motion to amend the Docket Control Order at the

appropriate time.

Dated: February 3, 2015                             Respectfully Submitted,

By: /s/ Elizabeth L. DeRieux                        By: /s/ Herbert H. Finn by permission
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       2
         While LG’s Motion to Consolidate states that the Apple cases “are consolidated for
scheduling” (Dkt. No. 35 at 1), the Court has set differing Markman hearing, early damages
expert hearing, and dispositive motion deadline dates for each Apple case. The Scheduling
Conferences in the Apple cases are set for March 18, 2015, and no proposed schedules for
intermediate dates have been proposed by the parties or entered by the Court.

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                               CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic
service are being served this 3rd day of February, 2015, with a copy of this document via the
Court’s CM/ECF system per Local Rule CV-5(a)(3), or to the extent not available in that
manner, counsel of record will be served by electronic mail, facsimile transmission and/or first
class mail on this same date.

                                            /s/ Elizabeth L. DeRieux
                                            Elizabeth L. DeRieux




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